
In re Carey, Byron; — Plaintiff(s); applying for writ of certiorari and/or review; to the Court of Appeal, Fifth Circuit, No. 89-CA-0215; Parish of St. James, 23rd Judicial District Court, Div. “C”, No. 18623.
Prior report: La.App., 550 So.2d 949.
Writ granted. The judgments of the district and court of appeal granting UMC’s exception of no cause of action are reversed. Plaintiff’s petition asserts that defendants intended to injure him or knew or should have known that his injury was substantially certain to follow. Conditions of the mind such as malice, knowledge, and intent may be alleged generally. La.C.C.P. art. 856. Furthermore, the purpose of the exception of no cause of action is to determine the sufficiency of the petition and is triable on the face of the papers. Mayer v. Valentine Sugars, Inc., 444 So.2d 618 (La.1984). The merit of plaintiffs claim is to be determined after findings of fact upon motion for summary judgment or trial on the merits.
